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No. 18-3037 September Term, 2018
1 :17-cr-00201-ABJ-1
Filed On: September 24, 2018 [1152234]

United States of America,
Appe||ee
v.
Pau| John Manafort, Jr.,

Appe||ant

M A N D A T E
|n accordance with thejudgment of Ju|y 31, 2018, and pursuant to Federa| Ru|e
of Appe||ate Procedure 41, this constitutes the formal mandate of this court.
FOR THE CCURT:
Mark J. Langer, C|erk
BY: /s/

Ken R. Meadows
Deputy C|erk

Link to the judgment filed Ju|y 31 , 2018

